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                          UNITED STATES DISTRICT COURT
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                         EASTERN DISTRICT OF CALIFORNIA
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     CAROLYN CHRISTIN HUERTA              CR. NO. 2:11-0119-03 WBS
13
                  Petitioner,             ORDER
14
          v.
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     UNITED STATES OF AMERICA,
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                  Respondent.
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21             On October 2, 2016, defendant Carolyn Christin Huerta

22   filed a motion to reduce sentence pursuant to 18 U.S.C. § 3582.

23   (Docket No. 267.)    The United States shall file an opposition to

24   petitioner’s motion no later than November 10, 2016.          Petitioner

25   may then file a reply no later than December 1, 2016.             The court

26   will then take the motion under submission and will inform the

27   parties if oral argument or further proceedings are necessary.

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      Case 2:11-cr-00119-WBS Document 268 Filed 10/05/16 Page 2 of 2


1              IT IS SO ORDERED.

2    Dated:   October 5, 2016
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